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                                                                              last updated 7/20/21
     Account
     Refund/Transfer
                                          This program has been extended through School Year 2021-
     Request Form
                                                                     22!
     Non-                                SMCSC is pleased to announce that the USDA has approved a
     Discrimination
                                        nationwide waiver due to the ongoing COVID19 pandemic that ALL
     Statement
                                        students, regardless of socioeconomic status, can receive FREE meals
     SY 21-22 Weekly                    at school.
     Meal Distribution
                                        What is considered a “free meal”?
                                        Students can receive 1 FREE lunch AND 1 FREE breakfast per school day.
                                         Meals must meet the existing guidelines that USDA has put forth and SMCSC has
                                        followed in order to be free. Ala carte items will still be an additional charge. These
                                        items include extra entrees and milk (all schools) and snacks/drinks (PHMS and PHHS).
                                        School menus can be found on our website HERE.


                                        How do I know if my child is purchasing a meal that qualifies
                                        as free?
                                        At the elementary level, we have always ensured that students are choosing a complete
                                        meal that will be charged at the meal price (usually adding a fruit or vegetable to
                                        qualify). At PHMS and PHHS, students become more independent and it is more
                                        challenging to persuade students to make those choices so we have traditionally allowed
                                        students to make their own choices. As a result of this change and the fact that we
                                        know parents will want to ensure their student is getting the meal at no charge, we will
                                        be modifying our service to ensure that in addition to elementary students, every PHMS
                                        or PHHS student who purchases an entree will have the minimum choices necessary to
                                        be able to qualify as a free meal. For example: if a student at PHMS or PHHS chooses
                                        a sandwich entree or a salad entree, the plate or package will have a fruit or vegetable
                                        packaged with it and that entree + fruit/veg qualifies as a free meal. Students are
                                        allowed to get additional fruit/vegetable servings at no charge and milk is optional.


                                        See more details HERE about what qualifies as a meal.


                                        Why must meals meet certain guidelines to be FREE?
                                        The USDA wants to ensure that any meal that is funded by the government meets
                                        certain nutrition qualifications. A school cannot be reimbursed for parts of a meal, the
                                        meal must be sold as a unit.


                                        Will my student still use their cafeteria account?
                                        Yes, students will still use cafeteria accounts. Families can still deposit money into
                                        accounts for the purchase of ala carte foods. If families would like to request a refund
                                        or transfer of funds in accounts, you can do so by completing our online form at
                                        www.smcsc.com/nutrition.



smadison.k12.in.us/departments/nutrition_services/u_s_d_a_free_meals_waiver                                                        2/3
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                                        Will free meals be a cost to SMCSC?
                                        This program is fully funded by the federal government and all costs to SMCSC are fully
                                        reimbursed through federal funding. The federal programs that we are able to operate
                                        under due to this waiver also provide program simplification, which means that we can
                                        focus our team’s time and talents on preparing the nutritious and tasty meals our
                                        students enjoy rather than the extreme administrative burden it has been to track meals
                                        and student payments while operating multiple feeding programs due to the COVID19
                                        pandemic.



                                        Do I still need to complete a Free/Reduced application if I
                                        think I qualify?
                                        No meal application is required to receive free meals. Families must complete the meal
                                        application in order to qualify for textbook assistance and P-EBT benefits (if applicable).




                                        update 7/20/21 -      Will SMCSC provide weekly meal distribution in
                                        SY 21-22?
                                        SMCSC Nutrition Services operated weekly meal distribution for students who were
                                        unable to attend school due to COVID-19 related school closures or quarantine from
                                        March 2020 until July 2021. During this time period, we served nearly 379,000 meals to
                                        children in our community! This was an honor to be able to provide meals for our
                                        students. It was also a very difficult and labor-intensive task for our staff to manage
                                        alongside in-person student meals. We have some true school nutrition heroes who
                                        worked tirelessly nearly every week to make sure this program was a success. SMCSC
                                        Nutrition Services will have far more in-person students this school year and we have
                                        decided that we have to focus our time and efforts on our regular meal programs and
                                        will not be offering weekly meal distribution this school year.




               203 South Heritage Way, Pendleton, IN 46064 | Phone 765-778-2152 | Fax 765-778-8207
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